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   Exhibit P – Excerpts of Plaintiffs’ Expert Witness A. Kolodny Transcript of
   Deposition (Sept. 04, 2020)
   [FILED UNDER SEAL]


   PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO EXCLUDE MARKETING
   OPINIONS OF DRS. ANNA LEMBKE, KATHERINE KEYES, ANDREW KOLODNY, AND JAKKI
   MOHR




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